Case 3:17-cv-00072-NKM-JCH Document 1124 Filed 09/27/21 Pagelof2 Pageid#: 18329

IN THE UNITED STATES DISTRICT COURT FOR THE. ou ceus nist. COURT

AT CHARLOTTESVILE, VA

WESTERN DISTRICT OF VIRGINIA FILED
Charlottesville Division SEP 27 2021

Elizabeth Sines, et al [ Ju -QUDL

E BY 4
Plaintiffs t

v t Case No: 3:17-cv-072-NKM

Jason Kessler, et al f
Defendants. t

MOTION IN LIMINE TO EXCLUDE EVIDENCE OF CANTWELL'S
77 77P FBRIOR ALLEGED FELONIOUS CONDUCT

Comes now the Defendant, Christopher Cantwell, and, he Moves this
Court To Exclude Evidence Of His Prior Alleged Felonious Conduct in
United States v Cantwell D NH Case No: 20-cr-006. In support, he -

states as follows:

13° Cantwell was convicted of transmission of extortionate threats in
interstate commerce in violation of 18 USC §875(b) and (d) in
United States v Cantwell D NH Case No: 20-cr-006. This conviction

is currently on appeal.

2) Cantweli's status as a felon is admissible to impeach him because
"one who has transgressed society's norms by committing a felony
is less likely than most to be deterred from lying under oath,"
at least in judicial theory, if not in the actual reality of fede-
ral courtrooms. Henslee v Singleton 714 Fed Appx 271 (4th Cir 2018)
citing Walden v Georgia-Pacific Corp 126 F 3d 506 (3rd Cir 1997),
Knight ex rel Kerr v Miami-Dade City 856 F 3d 795 (11th Cir 2017).
The conduct of which he was convicted, however, is not intrinsica-

lly related to the instant proceedings nor is it relevant to some
material issue at stake here. As such, this conduct is Tikely to

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inflame the emotions of or confuse the jury, and, should be ex-

cluded pursuant to Fed.R.Evid. 401-403, :sespecially Fed.R.Evid.
403.

3) What Cantwell proposes is that the jury may be told that he has
been convicted of a non-violent felony not involving an act of dis-

honesty.

And, thus, Cantwell moves in limine for this Court to grant such an
instruction and to exclude evidence of Cantwell's alleged felonious

conduct,

Respectfully Submitted,

 

Stop twell
USP-Marion
PO Box 1000

Marion, IL 62959

CERTIFICATE OF SERVICE

I hereby certify that this Motion in Limine was mailed to the Clerk of
the Court, lst Class -Postage prepaid, for posting upon the ECF systen,
to which aJ1 parties are subscribed, and, was handed to USP-Marion
staff members Nathan Simpkins and/or Kathy Hil] for electronic trans-

mission to the Court this 27th day of September, 2021.

ntwell
